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FILED
UNITED STATES JUDICIAL PANEL ee
on
MULTIDISTRICT LITIGATION APR 17 2025
CENTRAL DISTRICT OF CALIFORNIA.
BY En DENTS.
IN RE: TIKTOK, INC., MINOR PRIVACY

LITIGATION , 2:25-ml-03144-GW-RAQ), x, 3144

(SEE ATTACHED SCHEDULE)
CONDITIONAL TRANSFER ORDER (CTO -1)

~ Qn April 3, 2025, the Panel transferred 4 civil action(s) to the United States District Court for the Central
District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
_F Supp.3d_(J.P.M.L. 2025). Since that time, no additional action(s) have been transferred to the Central |
District of California. With the consent of that court, all such actions have been assigned to the Honorable
George H. Wu. :

“It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Central District of California and assigned to Judge Wu.

‘Pursuant to: Rule 7.1 of the R Pr £ he Unit icial Panel on Multidistrict Liti

the action(s) on the attached ee are transferred under 28 U.S.C. § 1407 to the Central District of
California for the reasons stated in the order of April 3, 2025, and, with the consent of that court, assigned to
the Honorable George H. Wu.

This order does not become effective until it is filed in rite Office of the Clerk of the United States District
Court for the Central District of California. The transmittal of this order to said Clerk shall be stayed 7 days ~
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7—day
period, the stay will be continued until further order of the Panel.

FOR THE PANEL:

{nasrnuch as no objection fs .
pending at Ga time, the 5 SV. Pgoll
any fs lifted. .

Apr 14, 2025

omnes eo James V. Ingold
wuiriestricT LATION Clerk of the Panel

| hereby attest and certify o nh 17 bes ee ea
that the foregoing document Is a full, true wy

and correct copy of the original on file la
my office, and in my legal custody.

CLERK U.S. DISTRICT COURT
CENTRAL DISTRICT OF-CALIFORNIA

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IN RE: TIKTOK, INC., MINOR PRIVACY
LITIGATION MDL No. 3144

SCHEDULE CTO-1 —- TAG-ALONG ACTIONS

DIST DW GANQ CASE CAPTION

CALIFORNIA NORTHERN
CAN 3 25-01304 'W. v. ByteDance, Inc. et al
CAN 3 25-01320 —-‘J.0. v. ByteDance, Inc. et al
CAN 3 25-02097 ~~ ~=—Brodiski et al v. TikTok Inc. et al
CAN 5 25-02239 . Armbruster et al v. ByteDance Inc. et al
FLORIDA MIDDLE . a
FLM 8 25-00730 . . LR. v. ByteDance, Inc. et al2!25-CV-03394-GW-RAOx
FLORIDA NORTHERN a
| -2325-CV-03395-GW-RAOx
FLN 4 25-00109 RILEY v. BYTEDANCE INC et al
FLN 4 25-00112 LINDSEY v. BYTEDANCE INC et al
- 2:25-CV-033996-GW-RAOx
FLORIDA SOUTHERN
a, half of BYTEDANCE, INC
FLS 0 25~-60498 scyapy CV-05307-EW-RAOX
FLS 2 . 25-14095° A T. v. ee a etal 2: A ARR Oa eae RAR :
ELS- + 2h eso Lesa ay A —etal Vacated 4/14/2025
LOUISIANA EASTERN
LAE 2 2500457 Martin et al v. Bytedance, Inc. et al
MINNESOTA
MN 0 25-0067 ‘Walters v. ByteDance, Inc. et al
MISSOURI EASTERN
MOE 4 2500310 White v. Bytedance, Inc. et al
WEST VIRGINIA SOUTHERN

WwVS 2 25-00142 Hinkle et al v. ByteDance, Inc. et al
